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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
 In re:                        Chapter 11

 ALUMINUM SHAPES, L.L.C.,                       Case No. 21-16520 (JNP)

                           Debtor.
                                                Ref. Docket nos. 2-5, 7–13, 15–18, 24, and 28



                                AFFIDAVIT OF SERVICE

STATE OF NEW YORK  )
                   ) ss.:
COUNTY OF NEW YORK )

DIANE STREANY, being duly sworn, deposes and says:

1. I am employed as a Senior Case Manager by Epiq Corporate Restructuring, LLC, located at
   777 Third Avenue, New York, New York 10017. I am over the age of eighteen years and am
   not a party to the above-captioned action.

2. On August 16, 2021, I caused to be served the following:

   a. “Application for Retention of Professional,” dated August 15, 2021 [Docket No. 2], (the
      “Winter Harbor Retention”),

   b. “Application for Retention of Professional,” dated August 15, 2021 [Docket No. 3], (the
      “Cowen Retention”),

   c. “Application for Retention of Professional,” dated August 15, 2021 [Docket No. 4], (the
      “Berwyn Retention”),

   d. “Application for Retention of Professional,” dated August 15, 2021 [Docket No. 5], (the
      “Epiq Retention”),

   e. “Debtor’s Motion Pursuant to 11 U.S.C. §§ 105(a) and 521(a) and Fed. R. Bankr. P.
      1007(c) for Entry of an Order Extending the Time to File its Schedules of Assets and
      Liabilities and Statements of Financial Affairs,” dated August 15, 2021 [Docket No. 7],
      (the “Schedule Extension Motion”),

   f. “Debtor’s Motion Pursuant to 11 U.S.C. §§ 105(a), 363(b), 506(b), 507(a), and 541 for
      Entry of an Order Authorizing, but not Directing, the Debtor to Make Post-Petition
      Payments and Disbursements with Respect to Certain Prepetition Taxes,” dated August
      15, 2021, [Docket No. 8], (the “Tax Motion”),
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   g. “Debtor’s Motion Pursuant to 11 U.S.C. §§ 105 and 366 Prohibiting Utilities from
      Altering, Refusing, or Discontinuing Services on Account of Prepetition Claims,
      Establishing Procedures for Determining Requests for Additional Adequate Assurance
      and for Related Relief,” dated August 15, 2021 [Docket No. 9], (the “Utilities Motion”),

   h. “Debtor’s Motion Pursuant to 11 U.S.C. §§ 105 and 363 Authorizing the Debtor to
      Continue Using Existing Bank Accounts and Business Forms and for Related Relief,”
      dated August 15, 2021 [Docket No. 10], (the “Cash Management Motion”),

   i. “Application for Retention of Professional,” dated August 15, 2021 [Docket No. 11], (the
      “Obermayer Retention”),

   j. “Debtor’s Motion Pursuant to 11 U.S.C. §§ 105(a), 363(b), and 503(b) for Authority to
      (I) Maintain, Renew and Continue Insurance Policies and Programs and (II) Honor all
      Insurance Obligations,” dated August 15, 2021 [related to Docket No. 12], annexed
      hereto as Exhibit A, (the “Insurance Motion with Slip-Sheet,”)

   k. “Motion of Aluminum Shapes, L.L.C. for Entry of an Order Pursuant to 11 U.S.C. §§
      105(a), 363 and 507(a) for Authority to (I) Pay Certain Prepetition Wages, Salaries and
      Reimbursable Employee Expenses; (II) Pay and Honor Employee Medical and Other
      Benefits; (III) Continue Employee Benefit Programs; and (IV) for Related Relief,” dated
      August 15, 2021 [Docket No. 13], (the “Wage Motion”),

   l. “Combined Motion of Aluminum Shapes, L.L.C. for the Entry of an Order Granting (A)
      Authority to Obtain Post-Petition Financing, (B) Liens and Super Priority Administrative
      Expense Status Pursuant to 11 U.S.C. §§ 364(c)(1), (2) and (3) and 364(d)(1), (C) Relief
      from the Automatic Stay (D) Authority to Enter into Agreements with Tiger Finance,
      LLC, (E) Authorization to Use Cash Collateral Pursuant to 11 U.S.C. §§ 361 and 363,
      Bankruptcy Rule 4001 and D.N.J. LBR 4001-4 and to Provide Adequate Protection to
      Parties with an Interest in Cash Collateral and (F) Related Relief,” dated August 15, 2021
      [Docket No. 15], (the “Combined DIP & Cash Collateral Motion”),

   m. “Declaration of Justin Magner of Cowen and Company, LLC in Support of Combined
      Motion of Aluminum Shapes, L.L.C. for the Entry of an Order Granting (A) Authority to
      Obtain Post-Petition Financing, (B) Liens and Super Priority Administrative Expense
      Status Pursuant to 11 U.S.C. §§ 364(c)(1), (2) and (3) and 364(d)(1), (C) Relief from the
      Automatic Stay (D) Authority to Enter into Agreements with Tiger Finance, LLC, (E)
      Authorization to Use Cash Collateral Pursuant to 11 U.S.C. §§ 361 and 363, Bankruptcy
      Rule 4001 and D.N.J. LBR 4001-4 and to Provide Adequate Protection to Parties with an
      Interest in Cash Collateral and (F) Related Relief,” dated August 15, 2021 [Docket No.
      16], (the “Magner Declaration”),

   n. “Declaration of Jordan Meyers in Support of Debtor’s Chapter 11 Petition and First Day
      Motions,” dated August 15, 2021 [Docket No. 17], (the “Meyers Declaration”),

   o. “Debtor’s Application for Expedited Consideration of First Day Matters,” dated August
      15, 2021 [Docket No. 18], (the “Expedited Consideration Application”),
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       p. “Order Regarding Debtor’s Application for Expedited Consideration of First Day
          Motions,” dated August 16, 2021 [Docket No. 24], (the “Expedited Consideration
          Order”), and

       q. “Notice of Debtor’s Motion Pursuant to 11 U.S.C. §§ 105(a), 327, and 330 for Authority
          to Employ Professionals used in the Ordinary Course of Business Nunc Pro Tunc to the
          Petition Date”, dated August 16, 2021 [Docket No. 28], (the “OCP Motion”),

       by causing true and correct copies of the:

   i.     Winter Harbor Retention, Cowen Retention, Berwyn Retention, Epiq Retention, Schedule
          Extension Motion, Tax Motion, Utilities Motion, Cash Management Motion, Obermayer
          Retention, Insurance Motion with Slip-Sheet, Wage Motion, Combined DIP & Cash
          Collateral Motion, Magner Declaration, Meyers Declaration, Expedited Consideration
          Application, Expedited Consideration Order and OCP Motion to be enclosed securely in
          separate postage pre-paid envelopes and delivered via overnight mail to those parties
          listed on the annexed Exhibit B,

  ii.     Cash Management Motion and Combined DIP & Cash Collateral Motion to be enclosed
          securely in separate postage pre-paid envelopes and delivered via overnight mail to those
          parties listed on the annexed Exhibit C,

 iii.     Insurance Motion with Slip-Sheet to be enclosed securely in separate postage pre-paid
          envelopes and delivered via overnight mail to those parties listed on the annexed Exhibit
          D,

 iv.      Tax Motion to be enclosed securely in a separate postage pre-paid envelope and delivered
          via overnight mail to the party listed on the annexed Exhibit E,

  v.      Utilities Motion to be enclosed securely in separate postage pre-paid envelopes and
          delivered via overnight mail to those parties listed on the annexed Exhibit F,

 vi.      Combined DIP & Cash Collateral Motion to be enclosed securely in separate postage pre-
          paid envelopes and delivered via overnight mail to those parties listed on the annexed
          Exhibit G,

vii.      OCP Motion to be enclosed securely in separate postage pre-paid envelopes and
          delivered via overnight mail to those parties listed on the annexed Exhibit H,

viii.     Winter Harbor Retention, Cowen Retention, Berwyn Retention, Epiq Retention, Schedule
          Extension Motion, Tax Motion, Utilities Motion, Cash Management Motion, Obermayer
          Retention, Insurance Motion with Slip-Sheet, Wage Motion, Combined DIP & Cash
          Collateral Motion, Magner Declaration, Meyers Declaration, Expedited Consideration
          Application, Expedited Consideration Order and OCP Motion to be delivered via
          electronic mail to those parties listed on the annexed Exhibit I,
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 ix.    Cash Management Motion and Combined DIP & Cash Collateral Motion to be delivered
        via electronic mail to the party listed on the annexed Exhibit J,

  x.    Insurance Motion with Slip-Sheet to be delivered via electronic mail to those parties
        listed on the annexed Exhibit K,

 xi.    Tax Motion to be delivered via electronic mail to the party listed on the annexed Exhibit
        L,

xii.    Utilities Motion to be delivered via electronic mail to those parties listed on the annexed
        Exhibit M,

xiii.   Combined DIP & Cash Collateral Motion to be delivered via electronic mail to those
        parties listed on the annexed Exhibit N, and

xiv.    OCP Motion to be delivered via electronic mail to: mhorn@salawus.com.

3. All envelopes utilized in the service of the foregoing contained the following legend:
   “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

                                                              /s/ Diane Streany
                                                              Diane Streany


 Sworn to before me this
 17th day of August, 2021
 /s/ Cassandra Murray
 Notary Public, State of New York
 No. 01MU6220179
 Qualified in Queens County
 Commission Expires April 12, 2022
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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)
  OBERMAYER REBMANN MAXWELL & HIPPEL LLP
  Edmond M. George, Esquire
  Michael D. Vagnoni, Esquire
  (pro hac vice pending)
  Turner Falk, Esquire
  1120 Route 73, Suite 420
  Mount Laurel, NJ 08054-5108
  Telephone: (856) 795-3300
  Facsimile: (856) 482-0504
  E-mail: edmond.george@obermayer.com
            michael.vagnoni@obermayer.com
            turner.falk@obermayer.com

  Proposed Counsel to the Debtor
  and Debtor in Possession

  In re:                                                       Chapter 11

  ALUMINUM SHAPES, L.L.C.,                                     Case No. 21- _______ - (    )

                                Debtor.


    DEBTOR’S MOTION PURSUANT TO 11 U.S.C. §§ 105(a), 363(b), AND 503(b)
   FOR AUTHORITY TO (I) MAINTAIN, RENEW AND CONTINUE INSURANCE
  POLICIES AND PROGRAMS AND (II) HONOR ALL INSURANCE OBLIGATIONS

        Aluminum Shapes, L.L.C. (the “Debtor”), by and through its undersigned proposed

counsel, hereby moves this Court for an order authorizing, but not directing, the Debtor to

maintain, renew and continue its insurance policies and programs and honor all insurance

obligations (the “Motion”), and represents as follows:

                                          JURISDICTION

        1.      This Court has jurisdiction over this Motion under 28 U.S.C. §1334, which is a core

proceeding within the meaning of 28 U.S.C. §157(b)(2). Venue of this proceeding is proper

pursuant to 28 U.S.C. §§ 1408 and 1409.



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        2.       The statutory predicates for the relief requested herein are sections 105(a), 363(b),

507(a), and 541 of the United States Bankruptcy Code, 11 U.S.C. §§ 101 et seq. (as amended, the

“Bankruptcy Code”).

                                               BACKGROUND

        3.       On August 15, 2021 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under Chapter 11 of the Bankruptcy Code (the “Chapter 11 Case”) in the United States

Bankruptcy Court for the District of New Jersey, Camden Vicinage (the “Court”).

        4.       The Debtor continues to operate its business as debtor in possession pursuant to

sections 1107(a) and 1108 of the Bankruptcy Code.

        5.       No request has been made for the appointment of a trustee or examiner, and no

official committee of unsecured creditors has been established in this case.

        6.       Information regarding the Debtor’s business, capital structure, and the

circumstances leading to the commencement of the Chapter 11 Case is set forth in the Declaration

of Jordan Meyers in Support of Debtor’s Chapter 11 Petition and First Day Motions, sworn to on

the date hereof (the “First Day Declaration”), which has been filed with the Court

contemporaneously herewith.1

        7.       In summary, the Debtor is an industry leader in the fabrication, processing, and

extruding of aluminum metals for use in, inter alia, the swimming pool, trucking, trailer, and

outdoor storage industries (the “Business”). See First Day Declaration. The Debtor operates its

Business out of a single facility located at 9000 River Road, Delair, New Jersey, consisting of

approximately 500,000 square feet, including a cast house, foundry, and processing area.




1
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the First Day
Declaration.

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        8.      The Debtor employs approximately 111 employees and a number of sophisticated

Managers appropriate for a large manufacturing business that purchases inventory and ships

products internationally.

                                 THE INSURANCE POLICIES

        9.      In connection with the operation of the Debtor’s Business, the Debtor maintains

various insurance policies and workers’ compensation programs (as renewed, amended, modified,

endorsed, and/or supplemented from time to time, and including any exhibit or addenda thereto,

collectively, the “Insurance Policies and Programs” and all insurance premiums, assessments,

service providers’ fees or broker’s fees and other obligations related thereto, including any taxes

or other fees, collectively, the “Insurance Obligations”) through several different insurance carriers

(the “Insurance Carriers”). A list of the Debtor’s Insurance Policies and Programs by Insurance

Carrier and coverage type is attached as Exhibit A.

        10.     The Insurance Policies and Programs include various liability, property, and other

insurance policies, which provide the Debtor with insurance coverage related to, among other

things, general liability, excess liability, directors’ and officers’ liability, employment practices

liability, workers’ compensation, property, crime, automobile, international commercial,

environmental and umbrella policies (including several excess layers). True and correct copies of

the Insurance Policies and Programs are attached as Exhibits B through K.

        11.     The Debtor maintains the Insurance Policies and Programs to help manage and limit

the risks associated with operating its Business. The Insurance Policies and Programs are essential

to the preservation of the value of the Debtor’s Business and property.

        12.     Some of the Insurance Policies and Programs are required by the various

regulations, laws, and contracts that govern the Debtor’s commercial activities.



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        13.     Pursuant to the Insurance Policies and Programs, the Debtor pays premiums based

upon a fixed rate established and billed by each Insurance Carrier (collectively, the “Insurance

Premiums”). At times, the Debtor pays the Insurance Premiums in installments. For example, the

commercial general liability policy is paid twenty-five percent (25%) upfront, and then in nine (9)

monthly installment payments thereafter.

        14.     The Debtor does not believe any pre-petition amounts are currently due and owing

on account of the Insurance Premiums. Nevertheless, out of an abundance of caution, the Debtor

seeks authority to pay any such pre-petition Insurance Premiums when they become aware of them.

        15.     Included in its Insurance Policies and Programs, the Debtor maintains workers’

compensation insurance as required by statute in each of the states in which it operates (the

“Workers’ Compensation Programs”).

        16.     Although the Debtor does not believe any such amounts are outstanding, out of an

abundance of caution, the Debtor seeks approval to pay any Insurance Obligation related to the

pre-petition period that may be owed to an insurance broker.

                                SUMMARY OF RELIEF REQUESTED

        17.     Pursuant to sections 105(a), 363(b), and 503(b) of the Bankruptcy Code, the Debtor

seeks entry of an order authorizing, but not directing, it to (i) continue to maintain, renew, and

continue its Insurance Policies and Programs and honor its Insurance Obligations in the ordinary

course of business during the administration of this Chapter 11 Case and (ii) pay any pre-petition

Insurance Obligations.

                                      BASIS FOR RELIEF

        18.     Section 1112(b)(4)(C) of the Bankruptcy Code provides that “failure to maintain

appropriate insurance that poses a risk to the estate or to the public” is “cause” for mandatory



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conversion or dismissal of a Chapter 11 case. 11 U.S.C. §1112(b)(4)(C). Furthermore, the

Guidelines of the Office of the United States Trustee for Region 3 (the “U.S. Trustee”) require

debtors to maintain insurance coverage throughout their Chapter 11 cases.

        19.     The Court has authority pursuant to sections 105(a), 363(b), and 503(b) of the

Bankruptcy Code to grant the relief requested by the Debtor. Section 503(b)(1) of the Bankruptcy

Code provides that: “After notice and a hearing, there shall be allowed, administrative

expenses…including…the actual, necessary costs and expenses of preserving the estate.” 11 U.S.C.

§503(b)(1)(A). The Court, therefore, can authorize the Debtor to use estate funds to pay any

Insurance Obligations arising or relating to the period after the Petition Date.

        20.     The Court may also grant the relief requested herein with respect to pre-petition

obligations pursuant to sections 105(a) and 363(b) of the Bankruptcy Code. Section 363(b)(1) of

the Bankruptcy Code provides, in relevant part, that “[t]he [debtor], after notice and a hearing, may

use, sell, or lease, other than in the ordinary course of business, property of the estate.” 11 U.S.C.

§363(b)(1). This provision grants a court broad flexibility to authorize a debtor to pay pre-petition

claims where a sound business purpose exists. See, In re Ionosphere Clubs, Inc., 98 B.R. 174, 175

(Bankr. S.D.N.Y. 1989).

        21.     Further, section 105(a) provides, in relevant part, that, “[t]he court may issue any

order, process, or judgment that is necessary or appropriate to carry out the provisions of this title.”

11 U.S.C. §105(a). This provision codifies the inherent equitable powers of the bankruptcy court,

including the power to authorize payment of pre-petition claims, under the “necessity of payment”

doctrine, when such payment is critical to a debtor’s reorganization or necessary for the

preservation of the value of the debtor’s estate. See, e.g., In re Lehigh & N. E. Ry. Co., 657 F.2d

570, 581 (3d Cir. 1981) (stating that “the sine qua non for the application of the ‘necessity of



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payment’ doctrine is the possibility that the creditor will employ an immediate economic sanction

failing such payment).

        22.     In such a circumstance, “it is evident that the payment made under the ‘necessity

of payment’ rule is in the interest of all parties . . . because such payment will facilitate the [debtor’s]

continued operation.” In re Penn Cent. Transp. Co., 467 F.2d 100, 102, n.1 (3d Cir. 1972)

(citations omitted) (“A number of cases declare a so-called ‘necessity of payment’ exception to

the normal deferment of the payment of pre-reorganization claims until their disposition can be

made part of a plan of reorganization. These cases permit immediate payment of claims of creditors

where those creditors will not supply services or material essential to the conduct of the business

until their pre-reorganization claims shall have been paid.”); In re Motor Coach Indus. Int'l, Inc.,

No. 08-12136-BLS, 2009 WL 330993, at *2, n.5 (D. Del. Feb. 10, 2009) (citing Lehigh, inter alia¸

for the proposition that “[t]he ‘doctrine of necessity’ or ‘necessity of payment’ doctrine is a general

rubric for the proposition that a court can authorize the payment of pre-petition claims if such

payment is essential to the continued operation of the debtor”); see also In re CoServ, L.L.C., 273

B.R. 487, 497 (Bankr. N.D. Tex. 2002) (stating “it is only logical that the bankruptcy court be able

to use Section 105(a) of the Code to authorize satisfaction of the pre-petition claim in aid of

preservation or enhancement of the estate”).

        23.     The payment of pre-petition claims under the doctrine of necessity is consistent

with the “two recognized policies” of Chapter 11 of the Bankruptcy Code: preserving going

concern value and maximizing property available to satisfy creditors. See Bank of Am. Nat’l Trust

& Savs. Ass’n. v. 203 N. LaSalle St. P’ship, 526 U.S. 434, 453 (1999). It is consistent with

Bankruptcy Rule 6003, which implies that the payment of pre-petition obligations may be




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permissible within the first twenty-one (21) days of a case where doing so is “necessary to avoid

immediate and irreparable harm.”

        24.     The relief requested by this Motion represents a sound exercise of the Debtor’s

business judgment, is necessary to avoid immediate and irreparable harm to the Debtor’s estate

and is justified under sections 105(a), 363(b), and 503(b) of the Bankruptcy Code. As noted herein,

the Debtor is required legally and contractually to maintain certain Insurance Policies and

Programs and the nature of the Debtor’s Business makes it essential for it to maintain all Insurance

Policies and Programs on an ongoing and uninterrupted basis. If any of the Debtor’s Insurance

Policies and Programs are terminated or lapse, the Debtor could be exposed to substantial liability

to the detriment of all parties-in-interest. Additionally, the Debtor must maintain most of the

Insurance Policies and Programs to comply with the guidelines of the U.S. Trustee.

        25.     Similarly, pursuant to state law, the Debtor must maintain the Workers’

Compensation Program. If the Debtor fails to maintain the Workers’ Compensation Program,

among other things, state law may prohibit it from operating. Granting authority to pay all Workers’

Compensation Program obligations, therefore, is crucial to the continued operation of the Debtor’s

Business.

        26.     In sum, the continuation of the Insurance Policies and Programs and the authority

to pay, in the Debtor’s discretion, all Insurance Obligations, including any unpaid pre-petition

Insurance Obligations, is essential to preserve the Debtor’s Business and the value of the Debtor’s

estate for all parties-in-interest.

        27.     Bankruptcy Rule 6003(b) provides that, to the extent relief is necessary to avoid

immediate and irreparable harm, a bankruptcy court may issue an order granting a “motion to use,

sell, lease, or otherwise incur an obligation regarding property of the estate, including a motion to



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pay all or part of a claim that arose before the filing of the petition” before twenty-one (21) days

after filing of the petition. Fed. R. Bankr. P. 6003(b). Disruptions regarding the Insurance Policies

and Programs could severely prejudice the Debtor’s chance for reorganization, cause the Debtor

to violate state law or applicable U.S. Trustee guidelines, harm the Debtor’s ability to retain

employees, and expose the Debtor to risks from uninsured liabilities.

        28.       Late payments could frustrate the Debtor’s relationships with employees and

cause other severe and irreparable disruptions to the Debtor’s Business which would have a

negative impact on all parties-in-interest. Accordingly, the Debtor has satisfied the requirements

of Bankruptcy Rule 6003.

        29.     To implement the foregoing successfully, the Debtor requests a waiver of the notice

requirements under Bankruptcy Rule 6004(a) and the fourteen-day stay imposed by Bankruptcy

Rule 6004(h), to the extent such stay applies.

        WHEREFORE the Debtor respectfully requests entry of the Proposed Order granting the

relief requested herein and such other and further relief as the Court may deem just and appropriate.

                                        Respectfully Submitted,


Dated: August 15, 2021              By: /s/ Edmond M. George
                                        Edmond M. George, Esquire
                                        Michael D. Vagnoni, Esquire (pro hac vice pending)
                                        Turner N. Falk, Esquire
                                        OBERMAYER REBMANN MAXWELL & HIPPEL, LLP
                                        1120 Route 73, Suite 420
                                        Mount Laurel, NJ 08054-5108
                                        Telephone: (856) 795-3300
                                        Facsimile: (856) 482-0504
                                        E-mail: edmond.george@obermayer.com
                                                michael.vagnoni@obermayer.com
                                                turner.falk@obermayer.com

                                        Proposed Counsel to Chapter 11 Debtor, Aluminum
                                        Shapes, L.L.C.


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                                EXHIBIT A: INSURANCE POLICIES


Fireman’s Fund Insurance Company (An Allianz Company)
Policy No. USC010400200
Property Insurance

Chubb Insurance Company Of New Jersey
Policy No. 7819-25-91
Commercial Umbrella Insurance

Chubb Insurance Company Of New Jersey
Policy No. (20) 9949-99-79
Business Auto Insurance

Chubb Insurance Company Of New Jersey
Policy No. 3603-87-65 EUC
Commercial General Liability Insurance

Chubb Insurance Company Of New Jersey
Policy No. 8255-5284
Primary Insurance: Directors and Officers, Employment Practices, Fiduciary Liability, Crime,
Kidnapping Ransom and Extortion

Great Northern Insurance Company
Policy No. 9950-35-95 PHL
International Commercial Insurance

ACE American Insurance Company
Policy No. PPL G24870388 014
Premises Pollution Liability Insurance

XL Specialty Insurance Company
Policy No. ELU172175-20
Excess Criminal Liability Insurance

XL Specialty Insurance Company
Policy No. ELU172149-20
Excess D&O Insurance

Insurance Company Of The West
Policy No. WPH-5038375-03
Worker’s Compensation and Employers Liability Insurance




OMC\4815-8114-6870.v3-8/15/21
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                       ALUMINIUM SHAPES, L.L.C.

  DEBTOR’S MOTION PURSUANT TO 11 U.S.C. §§ 105(a), 363(b), AND
 503(b) FOR AUTHORITY TO (I) MAINTAIN, RENEW AND CONTINUE
   INSURANCE POLICIES AND PROGRAMS AND (II) HONOR ALL
         INSURANCE OBLIGATIONS (the “Insurance Motion”)



The Exhibits B - K to the Debtor’s Insurance Motion have been excluded from
service due to their size.

Exhibits B - K are available for review and downloaded free of charge at the
website of the Debtors’ proposed Claims and Noticing Agent, Epiq Corporate
Restructuring, LLC (“Epiq”) at https://dm.epiq11.com/aluminiumshapes.
The Exhibits are located within Docket No. 12.

You may also request a copy of the excluded attachments by contacting Epiq
via email at AluminumShapesInfo@epiqglobal.com.
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                                 EXHIBIT B
                                                  ALUMINUM SHAPES
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Claim Name                               Address Information
AIRGAS SAFETY                            120 WHARTON ROAD BRISTOL PA 19007
ALLIED MINERAL PRODUCTS, INC.            ATTN: MIKE GAVIN 2700 SCIOTO PARKWAY COLUMBUS OH 43221-4660
AMERICAN EXPRESS                         ATTN: STEPHEN J. SQUERI THREE WORLD FINANCIAL CENTER 200 VESEY STREET NEW YORK
                                         NY 10285-4803
ATTAR METALS INC.                        ATTN: DONNA MUSSEL 6290 NETHERHARD ROAD MISSISSAUGA ON L5T 1B7 CANADA
COVENTYA, INC                            ATTN: JASON POTTS 4639 VAN EPPS RD BROOKLYN    HEIGHTS OH 44131
ENERGY POWER INVESTMENT CO, LLC          ATTN: STEVEN GABRIELLE 1605 N. CEDAR CREST BLVD SUITE 509 ALLENTOWN PA 18104
GREANEY CONSULTING LLC                   ATTN: CHRIS GREANEY 800 VILLAGE WALK GUILFORD CT 06437
HARRIS, BAIO & MCCULLOUGH                ATTN: GEORGE HARRIS 520 S. FRONT STREET PHILADELPHIA PA 19147
HOUSE OF METALS                          45 COMMERCIAL ROAD TORONTO ON M4G 1Z3 CANADA
INDIGO GLOBAL                            ATTN: MELISSA ANAGNOSTAKOS 1500 MARKET STREET SUITE 3500E PHILADELPHIA PA
                                         19107
INDILAW LLP                              ATTN: BHANU B. ILINDRA, ESQ. TWO LIBERTY PLACE 50 S. 16TH STREET, SUITE 2710
                                         PHILADELPHIA PA 19102
INTERNAL REVENUE SERVICE                 600 ARCH STREET PHILADELPHIA PA 19106
INTERNAL REVENUE SERVICES                CENTRALIZED INSOLVENCY OPERATION PO BOX 7346 PHILADELPHIA PA 19101-7346
INTERNAL REVENUE SERVICES                LOCAL OFFICE 600 ARCH STREET PHILADELPHIA PA 19106
INTERNAL REVENUE SERVICES                DEPARTMENT OF THE TREASURY 1500 PENNSYLVANIA AVENUE, N.W. WASHINGTON DC 20220
LABRADOR RECYCLING                       ATTN: FABIO FOLINO 115 STEVENS STREET SPRINGFIELD MA 01104
MCCARTER & ENGLISH, LLP                  (COUNSEL TO TIGER FINANCE, LLC) ATTN: JOSEPH LUBERTAZZI, JR., ESQ. FOUR
                                         GATEWAY CENTER 100 MULBERRY STREET NEWARK NJ 07102
MCCARTER & ENGLISH, LLP                  (COUNSEL TO TIGER FINANCE, LLC) ATTN: FRANKLIN BARBOSE, JR., ESQ. FOUR GATEWAY
                                         CENTER 100 MULBERRY STREET NEWARK NJ 07102
NATHAN H KELMAN, INC                     ATTN: NATHAN H. KELMAN 41 EUCLID STREET COHOES NY 12047
NORTHEAST METAL TRADERS                  ATTN: MITCHELL GOLDBERG 7345 MILNOR STREET PHILADELPHIA PA 19136
OFFICE OF THE UNITED STATES TRUSTEE      ONE NEWARK CENTER 1085 RAYMOND BOULEVARD, SUITE 2100 NEWARK NJ 07102
OFFICE OF THE US ATTORNEY GENERAL        U.S. DEPARTMENT OF JUSTICE ATTN: MATTHEW G. WHITAKER 950 PENNSYLVANIA AVENUE,
                                         N.W. WASHINGTON DC 20530-0001
P.S.E. & G.                              ATTN: RALPH IZZO 150 HOW LN NEW BRUNSWICK NJ 08901
RIEMER & BRAUNSTEIN LLP                  (COUNSEL TO SECURED LENDER TIGER FINANCE, LLC) ATTN: ANTHONY B. STUMBO, ESQ.
                                         TIMES SQUARE TOWER SEVEN TIMES SQUARE, SUITE 2506 NEW YORK NY 10036
SENTRY INSURANCE                         ATTN: PETER G. MCPARTLAND 1800 NORTH POINT DRIVE STEVENS POINT WI 54481
SOUTHEASTERN EXTRUSION TOOL              ATTN: JOE HANDBACK 50 STAPLES DR. FLORENCE AL 35630
STATE OF NEW JERSEY                      DEPT. OF ENVIRONMENTAL PROTECTION 401 E STATE ST. TRENTON NJ 08625
SYNCHRONY BANK                           C/O PRA RECEIVABLES MANAGEMENT, LLC ATTN: VALERIE SMITH, SR. MANAGER PO BOX
                                         41021 NORFOLK VA 23541
THE UNITED STATES ATTORNEY GENERAL       FOR THE STATE OF NEW JERSEY ATTN: ANDREW J. BRUCK 25 MARKET ST. TRENTON NJ
                                         08611
THE UNITED STATES ATTORNEY'S OFFICE      FOR THE DISTRICT OF NEW JERSEY PETER RODINO FEDERAL BUILDING 970 BROAD STREET,
                                         SUITE 700 NEWARK NJ 07102
U.S. SMALL BUSINESS ADMINISTRATION       REGION II ATTN: MATT COLEMAN, REGIONAL COMMS DIR. 26 FEDERAL PLAZA, SUITE 3108
                                         NEW YORK NY 10278
US ENVIRONMENTAL PROTECTION AGENCY       REGION 2 290 BROADWAY, 17TH FLOOR 2 NEW YORK NY 10007-1866
US ENVIRONMENTAL PROTECTION AGENCY       ATTN: SCOTT PRUITT, ADMINISTRATOR ARIEL RIOS BUILDING 1200 PENNSYLVANIA
                                         AVENUE, N.W. WASHINGTON DC 20460
WABASH NATIONAL                          P.O. BOX 6129 LAFAYETTE IN 47903
WABASH NATIONAL                          1000 SAGAMORE PKWY S. LAFAYETTE IN 47905




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                                 EXHIBIT C
                                           ALUMINUM SHAPES
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                                                                                           Desc Main
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Claim Name                        Address Information
M&T BANK                          ATTN: JHITEA MULLEN ONE MALL NORTH 10025 GOVERNOR WARFIELD PKWY, SUITE 107
                                  COLUMBIA MD 21044
M&T BANK                          ONE LIGHT STREET 16TH FLOOR BALTIMORE MD 21202
PROVIDENT BANK                    239 WASHINGTON STREET JERSEY CITY NJ 07302
PROVIDENT BANK                    PO BOX 1001 ISELIN NJ 08830




                          Total Creditor count 4




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                                 EXHIBIT D
                                                 ALUMINUM SHAPES
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Claim Name                               Address Information
ACE AMERICAN INSURANCE COMPANY           436 WALNUT STREET PO BOX 1000 PHILADELPHIA PA 19106
CHUBB ENVIRONMENTAL RISK CLAIMS MANAGER PO BOX 5103 SCRANTON PA 18505
CHUBB INSURANCE COMPANY OF NJ            202B HALLS MILL ROAD WHITEHOUSE STATION NJ 08889
FIREMANS FUND INSURANCE COMPANY          (AN ALLIANZ COMPANY) 225 W. WASHINGTON STREET SUITE 1800 CHICAGO IL 60606
GREAT NORTHERN INSURANCE COMPANY         3618 WEST 26TH STREET CHICAGO IL 60623
INSURANCE COMPANY OF THE WEST            15025 INNOVATION DRIVE SAN DIEGO CA 92128-3455
INSURANCE COMPANY OF THE WEST            PO BOX 509039 SAN DIEGO CA 92150
XL PROFESSIONAL INSURANCE                100 CONSTITUTION PLAZA 13TH FLOOR HARTFORD CT 06103
XL SPECIALTY INSURANCE COMPANY           70 SEAVIEW AVE STAMFORD CT 06902




                                  Total Creditor count 9




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                                 EXHIBIT E
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Claim Name                       Address Information
PENNSAUKEN TOWNSHIP              ATTN: DANA SURGNER MUNICIPAL BUILDING 5605 N. CRESCENT BLVD PENNSAUKEN NJ
                                 08110




                         Total Creditor count 1




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                                 EXHIBIT F
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                                                                                                     Desc Main
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Claim Name                               Address Information
ENERGY POWER INVESTMENT CO, LLC          1605 N. CEDAR CREST BLVD SUITE 509 ALLENTOWN PA 18104
MERCHANTVILLE-PENNSAUKEN WATER           ATTN: KARL N. MCCONNELL 6751 WESTFIELD AVE PENNSAUKEN NJ 08110
MERCHANTVILLE-PENNSAUKEN WATER           ATTN: JACK KILLION 6751 WESTFIELD AVE PENNSAUKEN NJ 08110
P.S.E. & G.                              150 HOW LN NEW BRUNSWICK NJ 08901
P.S.E. & G.                              P.O. BOX 14444 NEW BRUNSWICK NJ 08906
XTEL COMMUNICATIONS                      10 LAKE CENTER EXECUTIVE PARK, SUITE 106 401 ROUTE 73 NORTH MARLTON NJ 08053
XTEL COMMUNICATIONS                      PO BOX 71402 PHILADELPHIA PA 19176-1402




                                  Total Creditor count 7




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                                 EXHIBIT G
                                                 ALUMINUM SHAPES
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Claim Name                               Address Information
A.C. SHULTES, INC.                       ATTN: MICHAEL G. SCHULTES 664 S EVERGREEN AVE WOODBURY HEIGHTS NJ 08097
COMBINED METAL INDUSTRIES INC.           454 DOBBIE DRIVE CAMBRIDGE ON N1T 1S7 CANADA
COMBINED METAL INDUSTRIES INC.           C/O HEITNER & BREITSTEIN ATTN: CARY R. STERNBACK 28 N MAIN ST 1429 MARLBORO NJ
                                         07746
DIRECT ENERGY BUSINESS MARKETING LLC     C/O FISHKINLUCKS ATTN: STEVEN MILES LUCKS ONE RIVERFRONT PLAZA, SUITE 410
                                         NEWARK NJ 07102
DIRECT ENERGY BUSINESS MARKETING LLC     194 WOOD AVENUE SOUTH, SUITE 200 ISELIN NJ 08830
DIRECT ENERGY BUSINESS MARKETING LLC     C/O MCDOWELL HETHERINGTON LLP ATTN: KATE H. EASTERLING 1001 FANNIN STREET,
                                         SUITE 2700 HOUSTON TX 77002
EASTERN LIFT TRUCK CO INC.               549 E LINWOOD AVENUE MAPLE SHADE NJ 08052
EASTERN LIFT TRUCK CO.                   C/O SALDUTTI LAW GROUP ATTN: ROBERT L. SALDUTTI 800 KINGS HWY N CHERRY HILL NJ
                                         08034
EQUIPMENT DEPOT PENNSYLVANIA, INC.       741 INDEPENDENCE AVENUE MECHANICSBURG PA 17055
EQUIPMENT DEPOT PENNSYLVANIA, INC.       C/O GREGORY SHIELDS LAW ATTN: GREGORY S. SHIELDS 107 CHESLEY DR STE 5 MEDIA PA
                                         19063
EULER HERMES NORTH AMERICA INSURANCE     C/O HEITNER & BREITSTEIN ATTN: CARY R. STERNBACK 28 N MAIN ST 1429 MARLBORO NJ
CO.                                      07746
EULER HERMES NORTH AMERICA INSURANCE     800 RED BROOK BLVD. OWINGS MILLS MD 21117
CO.
GENERAL CHEMICAL & SUPPLY                ATTN: DAVID MCDONOUGH 858 N. LENOLA RD, UNIT 1A MOORESTOWN NJ 08057
IFM EFECTOR INC.                         C/O HEITNER & BREITSTEIN ATTN: CARY R. STERNBACK 28 N MAIN ST 1429 MARLBORO NJ
                                         07746
IFM EFECTOR INC.                         1100 ATWATER DRIVE MALVERN PA 19355
MARDINLY INDUSTRIAL POWER, LLC           701 PARKWAY DR BROOMALL PA 19008
MELTON TRUCK LINES, INC.                 808 N. 161ST EAST AVE. TULSA OK 74116
MELTON TRUCK LINES, INC.                 C/O HEATH E. HARDCASTLE 15 WEST 6TH STREET SUITE 2600 TULSA OK 74119
PYROTEK INC.                             C/O LEWIS BRISBOIS BISGAARD & SMITH, LLP ATTN: JONATHAN M. PREZIOSI ONE
                                         RIVERFRONT PLAZA, SUITE 800 NEWARK NJ 07102
PYROTEK INC.                             1285 CLAREMONT ROAD CARSLILE PA 17015
TALEN ENERGY MARKETING, LLC              600 HAMILTON ST., SUITE 600 ALLENTOWN PA 18101
TALEN ENERGY MARKETING, LLC              C/O FITZPATRICK LENTZ & BUBBA, P.C. ATTN: JUAN P. CAMACHO 645 WEST HAMILTON
                                         STREET, SUITE 800 ALLENTOWN NJ 18101
TALEN ENERGY MARKETING, LLC              C/O FITZPATRICK LENTZ & BUBBA, P.C. ATTN: JOSEPH S. DAMICO, JR. 645 WEST
                                         HAMILTON STREET, SUITE 800 ALLENTOWN NJ 18101
TALEN ENERGY MARKETING, LLC              2 NORTH 9TH STREET ALLENTOWN PA 18101
TEAMSTERS LOCAL 837 401(K) PLAN          C/O MARKOWITZ & RICHMAN ATTN: THOMAS HERMAN KOHN 123 S. BROAD STREET, SUITE
                                         2020 PHILADELPHIA PA 19109
TEAMSTERS LOCAL 837 401(K) PLAN          12275 TOWNSEND ROAD PHILADELPHIA PA 19154
TEAMSTERS LOCAL 837 HEALTH AND WELFARE   C/O MARKOWITZ & RICHMAN ATTN: THOMAS HERMAN KOHN 123 S. BROAD STREET, SUITE
FUND                                     2020 PHILADELPHIA PA 19109
TEAMSTERS LOCAL 837 HEALTH AND WELFARE   C/O MARKOWITZ & RICHMAN ATTN: MATTHEW D. AREMAN 123 S. BROAD STREET, SUITE
FUND                                     2020 PHILADELPHIA PA 19109
UGI ENERGY SERVICES, LLC                 C/O DYER PETERSON ATTN: GREGORY EDWIN PETERSON 322 U.S. HIGHWAY 46, SUITE 220E
                                         PARSIPPANY NJ 07054
UGI ENERGY SERVICES, LLC                 835 KNITTING MILLS WAY WYOMISSING PA 19610




                                  Total Creditor count 30




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                                 Aluminum Shapes, L.L.C.
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                                OCP Overnight Mail Service


          CROWE LLP                                          SMITHAMUNDSEN LLC
ATTN: CHARLES HOLLINGSWORTH                              ATTN: MATTHEW W. HORN, ESQ.
    485 LEXINGTON AVENUE                                 150 NORTH MICHIGAN AVENUE
          11TH FLOOR                                              SUITE 3300
      NEW YORK, NY 10017                                       CHICAGO, IL 60601
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                                  EXHIBIT I
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                                     Core-2002-Top 20 Email Service List

                     Name                                                 Email Address
ATTAR METALS INC.                                     info@attarmetals.com
COVENTYA, INC                                         j.potts@coventya.com
ENERGY POWER INVESTMENT CO, LLC                       sgabrielle@eppservice.com
GREANEY CONSULTING LLC                                chris.greaney@greaneyconsulting.com
HARRIS, BAIO & MCCULLOUGH                             george@hbmadv.com
INDIGO GLOBAL                                         info@indigoglobalcorp.com
INDILAW LLP                                           bhanu@bbilawgroup.com
INDILAW LLP                                           araju@rajullp.com
LABRADOR RECYCLING                                    oz@labrecy.com
MCCARTER & ENGLISH LLP                                jlubertazzi@mccarter.com
MCCARTER & ENGLISH LLP                                fbarbosa@mccarter.com
NATHAN H KELMAN, INC                                  nate.kelman@nhkelman.com
NORTHEAST METAL TRADERS                               nemt@metaltrader.com
PRA RECEIVABLES MANAGEMENT, LLC                       claims_rmsc@pragroup.com
RIEMER & BRAUNSTEIN LLP                               astumbo@riemerlaw.com
SENTRY INSURANCE                                      natacctspremiumservices@sentry.com
SOUTHEASTERN EXTRUSION TOOL                           jhanback@set-tool.com
U.S. SMALL BUSINESS ADMINISTRATION                    disastercustomerservice@sba.gov

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                                 EXHIBIT J
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                                   Banks Email Service List

                Name                                             Email Address
M&T BANK                                      jmullen1@mtb.com

                                                                                      Count: 1




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                                    Insurance Email Service List

                      Name                                           Email Address
CHUBB ENVIRONMENTAL RISK CLAIMS MANAGER          casualtyriskenvironmentfirstnotice@chubb.com
XL PROFESSIONAL INSURANCE                        proclaimnewnotices@xlcatlin.com

                                                                                                Count: 2




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                                 EXHIBIT L
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                                  Tax Authorities Email Service List

                      Name                                          Email Address
PENNSAUKEN TOWNSHIP                               dsurgner@twp.pennsauken.nj.us

                                                                                         Count: 1




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                                 EXHIBIT M
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                                    Utilities Email Service List

                    Name                                           Email Address
MERCHANTVILLE-PENNSAUKEN WATER                   kmcconnell@mpwc.com
MERCHANTVILLE-PENNSAUKEN WATER                   jkillion@mpwc.com
P.S.E. & G.                                      pseg-baandr@pseg.com
XTEL COMMUNICATIONS                              contact@xtel.net

                                                                                        Count: 4




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                                 EXHIBIT N
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                                      DIP Email Service List

                    Name                                           Email Address
A.C. SHULTES, INC.                              schultesmg@gmail.com
COMBINED METAL INDUSTRIES INC.;
EULER HERMES NORTH AMERICA INS;                 crs@nycnjlaw.com
IFM EFECTOR INC.
DIRECT ENERGY BUSINESS MARKETING LLC            slucks@fishkinlucks.com
EASTERN LIFT TRUCK CO.                          rsaldutti@slgcollect.com
EQUIPMENT DEPOT PENNSYLVANIA, INC.              gshields@gshieldslaw.com
PYROTEK INC.                                    jonathan.preziosi@lewisbrisbois.com
TALEN ENERGY MARKETING, LLC                     jsdamico@flblaw.com
TALEN ENERGY MARKETING, LLC                     jcamacho@flblaw.com
TEAMSTERS LOCAL 837 HEALTH AND WELFARE FUND     mareman@markowitzandrichman.com
TEAMSTERS LOCAL 837 401(K) PLAN;
                                                tkohn@markowitzandrichman.com
TEAMSTERS LOCAL 837 HEALTH AND WELFARE FUND
UGI ENERGY SERVICES, LLC                        ecourtsgep@dyerpeterson.com

                                                                                          Count: 11




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